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                                                                                   2018 Jun-27 PM 12:06
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       WESTERN DIVISION

TUSCALOOSA ALUMNI                      )
CHAPTER-KAPPA ALPHA                    )
PSI FRATERNITY, INC.,                  )
                                       )
      Plaintiffs                       )
                                       )        Case No.:
v.                                     )
                                       )
CYPRESS INN a/k/a BLACK                )
WARRIOR CORPORATION                    )        JURY DEMANDED
                                       )
      Defendant.                       )

                                  COMPLAINT

I.    INTRODUCTION

      This is a suit authorized and instituted pursuant to the “Civil Rights Act of

1866,” 42 U.S.C. § 1981 and “Title II of the Civil Rights Act of 1964,” 42 U.S.C. §

2000a. The jurisdiction of this Court is invoked to secure protection of and redress

deprivation of rights secured 42 U.S.C. §§ 1981 and 2000a providing for injunctive

and other relief against race discrimination.

      By refusing Plaintiffs service, Defendant has denied Plaintiffs the right to make

and enforce contracts on the same basis as white citizens, in violation of 42 U.S.C.

§ 1981, and denied Plaintiffs the full equal enjoyment of the goods, services,

facilities, privileges, advantages, and accommodations of the Cypress Inn restaurant,
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in violation of 42 U.S.C. § 2000a.

II.    JURISDICTION AND VENUE

       2.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331,

1343(4); and 42 U.S.C. § 2000a-6.

       3.      The unlawful employment practices alleged hereinbelow were

committed by the defendant within Tuscaloosa County, Alabama. Venue is proper in

this Court pursuant to 28 U.S.C. § 1391(b).

       4.      The federal claims in this action arise under legislation appropriately

enacted by the United States Congress under the Commerce Clause of the

Constitution of the United States, Article One, Section 8, Clause Three, and under

legislation appropriately enacted by the United States Congress to enforce the

Thirteenth Amendment to the Constitution of the United States.

III.   PARTIES

       5.      Plaintiffs, Tuscaloosa Alumni Chapter-Kappa Alpha Psi Fraternity, Inc.

(“Kappa Alpha Psi” or “Plaintiffs”), is a fraternal organization whose members are

predominantly African-American.

       6.      Defendant, Cypress Inn a/k/a Black Warrior Corporation (“Cypress Inn”

or “Defendant”), is an Alabama corporation with its principal place of business

located at 501 Rice Mine Road, Tuscaloosa, AL 35406. Defendant owned and

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maintained control over the Cypress Inn at all times pertinent to this lawsuit. Thus,

the Defendant committed, authorized, sanctioned, ratified, and approved the unlawful

policies, actions, and conduct described and complained of herein.

IV.   FACTS AND CLAIMS

      7.      On or around December 15, 2017, the Plaintiffs sought to rent the

Cypress Inn’s Annex Pavilliion for a social event set to occur on February 23, 2018.

Plaintiffs representatives were informed by Cypress Inn representatives that there was

a $1,500.00 reservation fee needed before the event could be booked. To that end,

the Plaintiffs promptly paid the Cypress Inn $1,500.00 to reserve the venue.

      8.      On or about February 6, 2018, Plaintiffs’ representative [African-

American male] met with the Cypress Inn’s representative [White female] in person

to finalize the details of the event. At that time the Cypress Inn represented that the

event could not go forward. A comment was made by the Cypress Inn representative

that she did not know the Plaintiffs were an “all black” group.

      9.        The Cypress Inn refused to allow the Plaintiffs to rent the Annex

Pavillion for the social event citing insufficient security personnel as a reason.

Plaintiffs volunteered to provide added security at their own expense but that offer

was rejected.




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      10.    The Plaintiffs also inquired whether insurance coverage was an issue

and produced proof of insurance and pledged to sign a waiver to hold the Cypress Inn

harmless from any liability related to the event. The Cypress Inn rejected this

proposal as well. Plaintiffs even presented the Defendant with pictures of past events

and stated that their membership was comprised of African-American professionals

and business leaders. The Defendant still refused to rent the venue to them.

      11.    Finally, the owner of the Cypress Inn [white female] was contacted

regarding the issue and stated that the venue had encountered problems with the

Plaintiffs’ “kind” before and therefore the decision disallowing their use of the venue

would stand. The Plaintiffs were then refunded the $1,500.00 reservation fee.

      12.    The Plaintiffs had already advertised and sold tickets for the event to

occur at the Cypress Inn; however, they were forced to refund some tickets and

eventually ended up hosting the venue at another location. This caused the Plaintiffs

to lose money as this was a fund-raising event to benefit local mentoring programs.

V.    COUNTS

                                   COUNT ONE

                          RACE DISCRIMINATION
                      IN VIOLATION OF 42 U.S.C. §1981

      13.    The Plaintiffs reallege and incorporates by reference paragraphs 1- 12


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above with the same force and effect as if fully set out in specific detail hereinbelow.

       14.      At all times material to this action, Plaintiffs, while seeking services

from Defendant, presented themselves in a fit and proper manner, both in terms of

dress and conduct.

       15.      Defendant refused to provide Plaintiffs services on the same basis as it

provides such services to similarly situated White customers. Defendant so acted

because of Plaintiffs’ race.

       16.      At all times relevant to the events described in Paragraphs 1 through 12

above, the supervisors, managers and other employees of the Cypress Inn were acting

(both apparently and in fact) within the scope of their employment and were acting

(both apparently and in fact) in their capacities as employees, agents, and/or

representatives of the Defendant.

       17.      The discriminatory practices described in Paragraphs 1 through 12

above were carried out under the Defendant’s direction, authority, control, and

supervision, and with the Defendants consent, encouragement, knowledge, and

ratification.

       18.      The Defendant’s actions were undertaken intentionally and

purposefully, with racially discriminatory animus, for the purpose of denying

Plaintiffs equal treatment on the basis of their race. Defendant acted maliciously, in

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bad faith, and with willful, callous, wanton, and reckless disregard for Plaintiffs’

federally protected rights.

      19.    By the actions described in Paragraphs 1 through 12 above, the

Defendant denied Plaintiffs the same right to make and enforce contracts as enjoyed

by White citizens of the United States, in violation of 42 U .S .C . § 1981 .

      20.    By the actions described in Paragraphs 1 through 12 above, Defendant

has deprived Plaintiffs of the equal enjoyment of the benefits, privileges, terms, and

conditions of a contractual relationship on the same basis as White persons.

      21.    As a proximate result of the actions of Defendant described in

Paragraphs 1 through 12 above, Plaintiffs have suffered, continue to suffer, and will

in the future suffer great and irreparable loss and injury including, but not limited to,

humiliation, embarrassment, emotional distress, and mental anguish.

      22.    The conduct alleged herein occurred pursuant to a pattern and practice

on the Cypress Inn’s part of discriminating against African-Americans in the

provision of services.

                                      COUNT II

                           RACE DISCRIMINATION
                      IN VIOLATION OF 42 U .S.C. § 2000a

      23.    Plaintiffs reallege and incorporate by reference Paragraphs 1 through


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22 above, as if set forth fully herein .

       24.    The Cypress Inn restaurant described herein is a “place of public

accommodation” within the meaning of 42 U.S .C . § 2000a.

       25.    The operations of the subject Cypress Inn restaurant affects interstate

commerce within the meaning of 42 U .S .C. § 2000a. It serves or offers to serve

interstate travelers and/or a substantial portion of the food that they serve or other

products that they sell have moved in interstate commerce.

       26.    But for Defendant’s discriminatory practices described above, Plaintiffs

could, and would, visit the subject Cypress Inn restaurant in the future.

       27.    Plaintiffs attempted to avail themselves of the full benefits and

enjoyment of a public accommodation, but Defendant has denied them the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of a place of public accommodation, on the basis of race, in

violation of 42 U.S.C. § 2000a.

                               PRAYER FOR RELIEF

       WHEREFORE, the plaintiff respectfully prays that this Court assume

jurisdiction of this action and after trial:

       (a)    Enter a declaratory judgment finding that the actions of the Defendant

as alleged in this Complaint violated 42 U.S .C . §§ 1981 and 2000a;

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      (b)      Enter a permanent injunction barring the Defendant from continuing to

engage in illegally discriminatory conduct against Plaintiffs and other African-

Americans who might attempt to rent the Cypress Inn restaurant in the future;

      (c)      Enter a permanent injunction directing that Defendant take all

affirmative steps necessary to remedy the effects of the illegally discriminatory

conduct alleged in this Complaint and to prevent repeated occurrences in the future;

      (d)      Award compensatory damages in an amount that would fully

compensate the Plaintiffs for their damages, including but not limited to their

humiliation, embarrassment, emotional distress, and mental anguish caused by

Defendant's violations of the law, as alleged in this Complaint;

      (e)      Award punitive damages to Plaintiffs in an amount sufficient to punish

Defendant for the intentional, malicious, callous, bad faith, willful, wanton, and

reckless misconduct alleged in this Complaint and that would effectively deter

Defendant from future discriminatory behavior;

      (f)      Award Plaintiffs their attorneys’ fees and costs; and

      (g)      Order such other and further relief as the Court deems just and equitable.




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                          DEMAND FOR JURY TRIAL

      Plaintiffs demand a trial by jury on all issues so triable.

                                                     Respectfully submitted,

                                                     s/Roderick T. Cooks
                                                     Roderick T. Cooks
                                                     Lee D. Winston
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                                                     Counsel for the Plaintiffs


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